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Rc\'iscd 03/06 wnNY _Ul\'lTED STATES DlSTRlCT COURT
WESTERN DlSTRICT OF NEW YORK

 

FORM TO BE USED lN FILING A COMPLAINT
UNDER THE CIVIL RlGHTS ACT, 42 U.S.C. § 1983
(Prisoner Complaint Fonn)

All material filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information

l. CAPTION OFACTION 1 8 Cv 6 0 88 E_ P<\A/

A. Full Name And PriSOner Numbel' Of Plainfiff: NOTE! lfmore than one plaintijfiles this action and seeks informa
pauperis status, each plaintiffmust submit an in forma pauperis application and a signed Authorization or the only plaintiffto be
considered will be the plaintif'who filed an application `and Authorization.

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_VS_

B. Fllll Name(S) ofD€fendanf(S) NOTE: Pursuant to Fed.R.Civ.P. lO(a). the names afg_l_lparties must appear in the caption.
The court may not consider a claim against anyone not identified in this section as a defendant. lfyou have more than six defendants,
)ltou may continue this section on another sheet ofp%)ei ifyou indicate belo§\hatyou haved dfe so

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2. STATEMENT OF JURlSDICTION

'l`his is a civil action seeking relief and/or damages to defend and protect the rights guaranteed by the Constitution of the
United States. This action is brought pursuant to 42 U.S.C. § 1983. The Court has jurisdiction over the action pursuant to
28 U.S.C. §§ 1331, 1343(3) and (4), and 2201. '

 

3. PARTIES TO THIS ACTION
PLAINTIFF’S INFORMATION NOTE: To list additionalplaintiffs, use thisformat on another sheet ofpaper.

 

Name and Prisoner Number of Plaintiff:

 

Present Place of Confrnement & Address:

 

 

 

Name and Prisoner Nurnber of Plaintiff:

 

Present Place of Conflnernent & Address:

 

 

 

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DEFENDANT’S lNFORMAT]ON NOTE: 7`0 provide information about more defendants than there is roo)nfor here, use this

format on anothersheet ofpaper. '

Name of Det`endant:

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‘ /
(lfapplicab]e) Defendant is Sued in ]ndividual and/or Official Capacity j 2017
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Name of Defendant:

(lf applicable) Official Position of Defendant: D(J /BUHLL,/ @/\J( "`j `// j/¢/) (/V r;<// /~//5; Lj @Cqu? 7
(]f applicable) Defendant1s Sued m _Individu/al and/or ___Ofticial Capacity zo (7
` Addless ofDefendant: /3() §JU{L] D]é`/) QL_J~/-»L-) HML M%€S€£€/Q /\/ \/ /(/Q£ (/

Odj' 517 1017

 

Name of Defendant:

(lt` applicable) Official Position ofDefendant:jVO/Z§C U/U 3“ ll €Lti/\C‘i‘ 986 (`//di¢t{d/U'

(lf applicable) Defendant` 1s Sued 1n __Individual and/or ___thcial Capacity 1

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4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

A. Have you begun any other awsuits in state or federal court dealing with the same facts involved in this action?
Yes No

If Yes, complete the next section. NOTE: ]f you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action (s) '0n another sheet of paper.

 

 

 

 

 

 

l. Name(s) of the parties to this other lawsuit:
Plaintiff(s):
Defendant(s):
2. Court (if federal court, name the district; if state court, name the county):
3. Docket or Index Number:
4. Name of Judge to whom case Was assigned:

 

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5. The approximate date the action was ftled: wowt"LJ
6. What was the disposition of the case?
ls it still pending? Yes No

 

lf not, give the approximate date it was resolved.

 

Disposition (check the statements which apply):
Dismissed (check the box which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to exhaust administrative remedies;

By court for failure to prosecute, pay filing fee or otherwise respond to a court
order;

 

By court due to your voluntary withdrawal of claim;
Judgment upon motion or after trial entered for
plaintiff

defendant

B. Have you begun any other lawsuits in federal court which relate to your imprisonment?

Yes Nod

lf Yes` complete the next section. NOTE: If you have brought more than one other lawsuit dealing with your imprisonmentl
use this same format to describe the other action(s) on another sheet of paper.

 

 

]. Name(s) of the parties to this other lawsuit:

Plaintiff(s): poth

 

Defendant(s): 100 toll

 

 

 

 

 

 

2. District Court:

3. Docket Number:

4. Name of District or Magistrate Judge to whom case was assigned: pou\?_
5. The approximate date the action was filed:

6. What was the disposition of the case?

Is it still pending? Yes No

If not, give the approximate date it was resolved.

 

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D_isposition (check the statements which apply):
Dismissed (check the box which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to exhaust administrative remedies;

By court for failure to prosecute, pay filing fee or otherwise respond to a court
order;

By court due to your voluntary withdrawal of claim;

 

Judgment upon motion or after trial entered for
plaintiff

defendant

 

5. STATEMENT OF CLAIM

For your infonnation, the following is a list of some of the most frequently raised grounds for relief in proceedings under 42
U.S.C. § 1983. (This list does not include a_ll possible claims.)

' Religion ' Access to the Courts ' Search & Seizure

- Free Speech ' False Arrest ~ Malicious Prosecution

' Due Process £Excessive Force @)enial of Medical Treatment
' Equal Protection -`Failure to Protect ' Right to Counsel

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims. In other words, tell the story of what happened to you but do not use legal jargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief." "The function of pleadings under the Federal Rules is to give fair notice of the claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial." Simmons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995).
Fed.R.Civ.P. lO(b) states that “[a]ll averments of claim shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances.’l .

 

Exhaustion of Administrative Remedies

Note that according to 42 U.S.C. § l997e(a), “[n]o action shall be brought with respect to prison conditions under section
1983 of this title, or any other Federal law, by a prison er confined in any j ail, prison, or other correctional facility until such
administrative remedies as are available are exhausted.”

You must provide information about the extent of your efforts to grieve, appeal, or otherwise exhaust your administrative
remedies, and you must attach copies of any decisions or other documents which indicate that you have exhausted your
remedies for each claim you assert in this action.

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defendant (give the name and position held of each defendant involved m this incident) LH;@ C(]Q A OQ¢{ /
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Did you grieve or appeal this claim? /\)U Yes d/ No lf yes, what was the result? ¢Q<_\LO poi` Cew\t°ui't`i£
loc’..Cad§'c. T/ Wct<’ Y@€N /`€;` ft 67/2/ cdc/dee re am r fees tenant
Did you appeal that decision? sél No lf yes, what was the result?

 

 

Attach copies of any documents that indicate that you have exhausted this claim.
lf you did not exhaust your administrative remedies, state why you did not do so: f 19§¢]”/ ~@f? fl-
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defendant (give the name and position held of each defendant involved m this incident) I’U UVZ 5a 0 1\)`
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` Exhaustion of Your Administ1ative Remedies for this Claim: QSLN ("

 

 

Did you grieve or appeal this claim? Yes X No lf yes, what was the result?
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Did you appeal that decision? Yes § No lf yes, what was the result?

 

 

Attach copies of any documents that indicate that you have exhausted this claim.

lf you did not exhaust your administrative remedies, state why you did not do so: l g 5 ga § QQQ icg

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lf you have additional claims, use the above format and set them out on additional sheets of paper.

 

6. REL]EF SOUGHT
Summarize the 1 elief requested by you in eac/1 statement of claim above.

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Do you want a jury trial? Yes No

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I declare under penalty ofperjury that the foregoing is true and correct.

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Signature(s) of P]aintiff(s)

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'l`he J_S 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ol` pleadings or other papers us req ` d by law, except as
pro\'lded by local rules ot`_eourt. `l`lns l`on'n, approved by thejudieiztl (`onl'erence ol`the llm'tcd States in Scptemhcr l974, is required for the usc ol`the (` ' ot`(`oun for the
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OTHER‘S’I’ATUTES`

 

Cl 625 Dmg Related Seizure
ol` Pmperty 21 USC 881
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U 422 Appenl 28 USC 158
Cl 423 Withdrawal
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C| 870 Taxes (U.S. Plaintiff
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CI 87| lRS-'l`hird Ptmy
26 USC 7609

 

Cl 375 False Clailns Act
El 376 Qui Tam (3] USC

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Cl 400 State Rcapportionmcnl
Cl 410 Antitrust

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Cl 460 Deportation

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El 490 Cable/Sat TV
CI 850 Sccurities/Commodities/

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CJ 891 Agricultum|Acts

C| 893 Envimnmcntal Mattcrs
Cl 895 Freedom of lni'onnalion

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